 Case 2:20-cv-00049-LGW-BWC Document 13 Filed 07/10/20 Page 1 of 1            FILED
                                                                   John E. Triplett, Acting Clerk
                                                                    United States District Court

                                                               By crobinson at 4:41 pm, Jul 10, 2020




             In the United States District Court
             for the Southern District of Georgia
                     Brunswick Division
PATRICIA KENNEDY,

     Plaintiff,

     v.
                                                CV 2:20-049
OHM SHREE GANISH, INC.,

     Defendant.


                                 ORDER

     Before the Court is Plaintiff Patricia Kennedy’s notice of

voluntary dismissal, dkt. no. 12, wherein she states her intention

to dismiss this case with prejudice.      Defendant OHM Shree Ganish,

Inc. having filed no answer to the Complaint, Plaintiff is entitled

to dismiss this case pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i).    Accordingly, all claims asserted in this action

are DISMISSED with prejudice.     Each party shall bear its own fees

and costs.    The Clerk is DIRECTED to terminate all pending motions

and close this case.

     SO ORDERED, this 10th day of July, 2020.




                           HON. LISA GODBEY WOOD, JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
